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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


GLOBAL HEALTH COUNCIL et al.,

                        Plaintiffs,

          v.                                                    Civil Action No. 1:25-cv-402

DONALD TRUMP et al.,

                        Defendants.


                                      [PROPOSED] ORDER

         Upon consideration of Plaintiffs’ motion to enforce, it is hereby

         ORDERED that within 48 hours of the entry of this Order, the Restrained Defendants

shall:

         Pay all due and past due invoices and Letter of Credit drawdown requests on contracts;

         Permit and promptly pay Letter of Credit drawdown requests and requests for

reimbursements on grants and assistance agreements;

         Take no actions to impede the prompt payment of appropriated foreign-assistance funds;

and

         Take all necessary actions to ensure the prompt payment of appropriated foreign-assistance

funds going forward. It is further

         ORDERED that the Restrained Defendants shall file a status report within 48 hours of the

entry of this Order, apprising the Court of the status of their compliance with this Order.

         IT IS SO ORDERED.

                                                ________________________________
                                                THE HONORABLE AMIR H. ALI
                                                UNITED STATES DISTRICT JUDGE
